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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                 Case No. 1:11-cv-24465-MGC

   JAN BENSON SEGAL,                              §
                                                  §
                                                  §
          Plaintiff,                              §
                                                  §
   v.                                             §
                                                  §
   BRE/LQ FL PROPERTIES LLC                       §
                                                  §
   and LQ MANAGEMENT LLC                          §
   d/b/a LA QUINTA 2627 ,                         §
                                                  §
          Defendants.

                           ORDER GRANTING JOINT STIPULATION
                       OF FULL AND FINAL DISMISSAL WITH PREJUDICE

          The Court has considered the Joint Stipulation of Full and Final Dismissal with Prejudice

   filed by Plaintiff, JAN BENSON SEGAL, and Defendant, BRE/LQ FL PROPERTIES LLC

   AND LQ MANAGEMENT LLC d/b/a LA QUINTA 667, the pleadings on file, and all other

   things before it. The Court hereby dismisses this matter with prejudice against being re-filed.

   Each party shall bear its own fees, expenses and costs.

          It is so ORDERED.

          SIGNED on this ________ day of ________________________ 2012.


                                                ______________
                                                UNITED STATES DISTRICT JUDGE
